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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                                    DISTRICT OF ARIZONA
10
11    United States of America,                          No. CR 09-0712-PHX-DGC
12           Plaintiff,                              NOTICE RE. USE OF THE WORD
13                                                     TERRORISM IN COUNT I
      vs.
14
      Dennis Mahon,
15
             Defendant.
16
                    Dennis Mahon, through undersigned counsel, hereby files this Notice
17
     regarding an issue that was addressed but not resolved on September 30, 2011. The
18
     defense brings this matter to the Court’s attention because it is an issue that will bear on
19
     the issue of whether or not to submit the indictment to the jury.
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21
                  On July 13, 2010, the defense filed a motion to strike certain language from

22   the indictment, including among others the reference to terrorism. Docket 408. The

23   issue was argued on September 23, 2010. Transcript, at 51-52, 54-55. On September
24   29, 2010, the Court ordered that the word “terrorism” be stricken from Count One of the
25   Indictment. Docket 620, at 9. This issue arose again during the September 30, 2011,
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27
28
 1   motion hearing, and there were several sets of recollections about the Court’s previous
 2   ruling. This issue must be addressed before the indictment can be sent (or not) to the
 3   jury during their deliberations.
 4                Respectfully submitted: December 29, 2011.
 5                                         JON M. SANDS
 6
                                           Federal Public Defender

 7
                                            s/Deborah L. Williams
 8                                         DEBORAH L. WILLIAMS
                                           MILAGROS A. CISNEROS
 9                                         Asst. Federal Public Defenders
                                           JON M. SANDS
10                                         Federal Public Defender
11
12
     I hereby certify that on December 29, 2011, I electronically transmitted the attached
13   document to the Clerk’s Office using the ECF System for filing and transmittal of a
     Notice of Electronic Filing to the following ECF registrants:
14
   MICHAEL MORRISSEY
15 JOHN BOYLE
   Assistant U.S. Attorneys
16 Two Renaissance Square
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17 Phoenix, Arizona 85004-4408
18 BARBARA HULL
19 637 N. Third Ave. #3
   Phoenix, AZ 85003-0001
20 Attorney for Co-defendant Daniel Mahon
21   Copy of the foregoing mailed to:
22   DENNIS MAHON
     Defendant
23
24     s/ S. B.
     S. B.
25
26
27
28

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